                                  Case 25-10312                 Doc 1        Filed 01/14/25            Page 1 of 13

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                                  Maryland
 ____________________ District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Diamond Select Toys & Collectibles, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                5 ___
                                              ___      1 ___
                                                  2 – ___ 2 ___ 3 ___
                                                             4 ___    5 ___
                                                                   4 ___ 0
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              10150 York Road, Suite 300
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              Hunt Valley                MD        21030
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Baltimore
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                   diamondselecttoys.com
                                              ____________________________________________________________________________________________________




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Debtor        Diamond Select Toys & Collectibles, LLC
              _______________________________________________________                      Case number (if known)_____________________________________
              Name




 6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         Partnership (excluding LLP)
                                         Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                        B. Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            4 ___
                                           ___ 2 ___
                                                  3 ___
                                                     9

 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                     Chapter 7
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                                       Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                            4/01/25 and every 3 years after that).
                                                        
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                            chooses to proceed under Subchapter V of Chapter 11.

                                                         A plan is being filed with this petition.
                                                         Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                         The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                         The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         Chapter 12
 9.   Were prior bankruptcy cases        No
      filed by or against the debtor
      within the last 8 years?           Yes. District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY


 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 2
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Debtor         Diamond Select Toys & Collectibles, LLC
              _______________________________________________________                          Case number (if known)_____________________________________
              Name



 10. Are any bankruptcy cases                No
     pending or being filed by a
     business partner or an                  Yes. Debtor _____________________________________________
                                                           See Attached Schedule 1                      Relationship _________________________
     affiliate of the debtor?                                  Maryland
                                                      District _____________________________________________ When               __________________
     List all cases. If more than 1,                                                                                            MM / DD / YYYY
     attach a separate list.                          Case number, if known ________________________________



 11. Why is the case filed in this          Check all that apply:
     district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have             No
     possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                               Number          Street

                                                                               ____________________________________________________________________

                                                                               _______________________________________         _______ ________________
                                                                               City                                            State ZIP Code


                                                    Is the property insured?

                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                              Contact name     ____________________________________________________________________

                                                              Phone            ________________________________




             Statistical and administrative information



 13. Debtor’s estimation of                 Check one:
     available funds                         Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49                            1,000-5,000                              25,001-50,000
 14. Estimated number of
                                             50-99                           5,001-10,000                             50,001-100,000
     creditors
                                             100-199                         10,001-25,000                            More than 100,000
                                             200-999

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Debtor      Diamond Select Toys & Collectibles, LLC
            _______________________________________________________                             Case number (if known)_____________________________________
            Name



                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of        Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                         Q   I have been authorized to file this petition on behalf of the debtor.

                                         Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            1/14/2025
                                             Executed on _________________
                                                         MM / DD / YYYY


                                         8   _____________________________________________                 Robert Gorin
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   Co-Chief Restructuring Officer
                                             Title _________________________________________




 18. Signature of attorney
                                         8   _____________________________________________                Date
                                                                                                                         1/14/2025
                                                                                                                     _________________
                                             Signature of attorney for debtor                                        MM     / DD / YYYY



                                              Jordan D. Rosenfeld
                                             _________________________________________________________________________________________________
                                             Printed name
                                             Saul Ewing LLP
                                             _________________________________________________________________________________________________
                                             Firm name
                                              1001 Fleet Street, 9th Floor
                                             _________________________________________________________________________________________________
                                             Number     Street

                                             Baltimore
                                             ____________________________________________________             MD
                                                                                                             ____________ 21202
                                                                                                                          ______________________________
                                             City                                                            State        ZIP Code

                                             (410)   332-8600
                                             ____________________________________                             jordan.rosenfeld@saul.com
                                                                                                             __________________________________________
                                             Contact phone                                                   Email address



                                             13694
                                             ______________________________________________________  MD
                                                                                                    ____________
                                             Bar number                                             State




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                                           SCHEDULE 1
        On the date hereof, each of the affiliated entities listed below, which includes the debtor in
this chapter 11 case (collectively, the “Debtors”), filed a voluntary petition in this Court for relief
under chapter 11 of title 11 of the United States Code. Contemporaneously with the filling of their
petitions, the Debtors filed a motion requesting that the Court consolidate their chapter 11 cases
for administrative purposes only.
   x   Diamond Comic Distributors, Inc.
   x   Diamond Select Toys & Collectibles, LLC
   x   Comic Holdings, Inc.
   x   Comic Exporters, Inc.
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                     (Baltimore Division)

    In re
                                                             Case No. 25-_____ (___)
    Diamond Comic Distributors, Inc., et al.,
                                                             Chapter 11
                                        1
                             Debtors.
                                                             (Joint Administration Requested)



      COMBINED CORPORATE OWNERSHIP STATEMENT AND LIST OF EQUITY
           SECURITY HOLDERS PURSUANT TO FED. R. BANKR. P. 1007(a)(1),
                            1007(a)(3), AND 7007.1

            Pursuant to Rules 1007(a)(1), 1007(a)(3) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the above-captioned debtors and debtors in possession (collectively, the “Debtors”),

hereby state as follows:

            1.     Debtor Diamond Comic Distributors, Inc., is owned as follows: 99% by non-debtor

SG Resource LLC, and 1% by non-debtor Stephen A. Geppi Revocable Trust.

            2.     Debtor Diamond Select Toys & Collectibles, LLC, is owned as follows: 99% by

non-debtor DST Investments, LLC, and 1% by non-debtor Stephen A. Geppi Revocable Trust.

            3.     Debtor Comic Exporters, Inc., and Diamond Comic Holdings, Inc., are wholly

owned by Debtor Diamond Comic Distributors, Inc.




1
      The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
      numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
      (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
      Road, Suite 300, Hunt Valley, Maryland 21030.


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             UNANIMOUS WRITTEN CONSENT OF THE RESTRUCTURING
                  COMMITTEE OF DIAMOND SELECT TOYS, INC.

        The undersigned, being the sole member of the special restructuring committee (the
“Restructuring Committee”) of Diamond Select Toys, Inc. (the “Company”), consents to and
adopts the following resolutions on and as of January 12, 2025:

        WHEREAS, the Restructuring Committee has reviewed and considered, among other
things, the financial records of the Company and the business and financial condition of the
Company, and is aware of the assets, liabilities, potential liabilities and liquidity of the Company;

        WHEREAS, the Restructuring Committee has had the opportunity to consult with the
management and legal and financial advisors of the Company to consider, and has considered, the
strategic alternatives available to the Company;

        WHEREAS, the Restructuring Committee has determined, after consultation with the
management and the legal and financial advisors of the Company, that it is desirable and in the
best interests of the Company, and its stockholders, creditors, and other interested parties that a
voluntary petition be filed by the Company under the provisions of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District
of Maryland (the “Bankruptcy Court”);

        NOW, THEREFORE, BE IT RESOLVED, that the Restructuring Committee has
determined, after consultation with the management and the legal and financial advisors of the
Company, that, subject to approval of the Bankruptcy Court, the Company, as a debtor and debtor
in possession under chapter 11 of the Bankruptcy Code, shall be, and hereby is, authorized to enter
into that certain Debtor-in-Possession Credit Agreement (the “DIP Credit Agreement” and together
with other documents related to debtor-in-possession financing, the “DIP Documents”) with
JPMorgan Chase Bank, N.A. (the “DIP Lender”), to provide the Companies with debtor-in-
possession financing and use of cash collateral (the “DIP Facility”); and be it further

        RESOLVED, that the Chief Restructuring Officer, the President of the Company and/or
the Chief Financial Officer of the Company, together with any other person or persons hereafter
designated in writing by the Restructuring Committee (each, an “Authorized Person”), in each
case, acting individually or jointly, be, and hereby is, authorized, directed and empowered with
full power of delegation, in the name and on behalf of the Company, as a debtor and debtor in
possession, to (i) seek approval of a debtor-in-possession financing and cash collateral order in
interim and final form (a “DIP Order”), (ii) negotiate, execute and deliver any and all agreements,
instruments or documents by or on behalf of the Company necessary to implement the DIP Order,
including the DIP Documents and any additional or further agreements for the use of debtor-in-
possession financing and/or cash collateral in connection with the Company’s chapter 11 case,
which agreements may require the Company to grant liens to its existing lender or the DIP Lender,
and (iii) perform its obligations and take the actions contemplated under, the DIP Documents and
any additional or further agreements for the use of debtor-in-possession financing and/or cash
collateral in connection with the Company’s chapter 11 case (in each case with such changes
therein and additions thereto as any such Authorized Person may deem necessary, appropriate or



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advisable, the execution and delivery of any of the DIP Documents by any such Authorized Person
with any changes thereto to be conclusive evidence that any such Authorized Person deemed such
changes to meet such standard); and be it further

       RESOLVED, that any Authorized Person, in each case, acting individually or jointly, be,
and hereby is, authorized, directed and empowered, with full power of delegation, in the name and
on behalf of the Company, to negotiate, execute and deliver on behalf of the Company any
agreements, documents and instruments in connection with the sale or other disposition of the
Company’s assets as such Authorized Persons may deem necessary, advisable or appropriate, such
approval to be evidenced conclusively by such execution; and be it further

         RESOLVED, that, the Company is authorized and directed, and any Authorized Person,
in each case, acting individually or jointly, be, and hereby is, authorized, directed and empowered,
with full power of delegation, in the name and on behalf of the Company, as a debtor and debtor
in possession, to (i) negotiate a sale or sales of some of all of the assets of the Company, (ii) take
such actions and execute, acknowledge, deliver, and verify such agreements, certificates,
instruments, and any and all other documents, including any amendments or other modifications,
as such Authorized Person may deem necessary or appropriate to facilitate such sale or sales, and
(iii) authorize counsel to: (a) draft, file and seek approval of bidding procedures pursuant to which
the Company shall seek higher or otherwise better offers for the sale or sales of some or all of the
assets of the Company, (b) draft, file and seek approval of any such sale and corresponding sale
agreement, (c) execute, deliver and file on behalf of the Company such affidavits of declarations
as such Authorized Person deems necessary or desirable in connection with obtaining approval of
such bidding procedures and any subsequent sale or sales, and (d) take any and all such other
actions as such Authorized Person deems necessary or desirable in connection with obtaining the
highest or otherwise best offer for the Company’s assets; and be it further

       RESOLVED, that any Authorized Person, in each case, acting individually or jointly, be,
and each hereby is, authorized, empowered, and directed, in the name and on behalf of the
Corporation, to retain (i) Saul Ewing LLP, as general bankruptcy counsel, (ii) Getzler Henrich &
Associates LLC, as financial advisor, (iii) Raymond James & Associates, Inc., as investment
banker, (iv) Stephenson Harwood, LLP, as U.K. counsel, and (v) Omni Agent Solutions, as claims
and noticing agent and administrative agent, in each case on such terms as any Authorized Person
shall deem necessary, appropriate or desirable and subject to any required approvals of the
Bankruptcy Court; and be it further
        RESOLVED, that any Authorized Person, in each case, acting individually or jointly, be,
and each hereby is, authorized, empowered, and directed, with full power of delegation, in the
name and on behalf of the Corporation, to take and perform any and all further acts and deeds that
such Authorized Person deems necessary, appropriate, or desirable in connection with the
Companies’ chapter 11 case, including, without limitation, (i) paying any fees, expenses and taxes
such Authorized Person deems necessary, appropriate, or desirable, (ii) engaging or retaining
further accountants, counsel, consultants or advisors, and (iii) negotiating, executing, delivering,
performing and filing any and all additional documents, agreements, schedules, statements, lists,
papers, agreements, certificates, and/or instruments (or any amendments or modifications thereto)
in connection with, or in furtherance of, the Companies’ chapter 11 case with a view to the


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successful prosecution of such chapter 11 case (such acts to be conclusive evidence that such
Authorized Person deemed the same to meet such standard).

       IN WITNESS WHEREOF, the undersigned member of the Restructuring Committee has
executed this consent on the date set forth above.



                                                         _____________________
                                                         ___________________
                                                         Bradley E. Scher




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                                    Case 25-10312             Doc 1         Filed 01/14/25                Page 13 of 13

 Fill in this information to identify the case and this filing:


                Diamond Select Toys & Collectibles, LLC
 Debtor Name __________________________________________________________________

                                                                            Maryland
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                      Combined Corporate Ownership Statement and List of Equity Holders
          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                     1/14/2025
        Executed on ______________                         8   _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Robert Gorin
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Co-Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
